                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

     VIMALA LLC, dba ALECIA et al.,
                                                                 No. 3:19-cv-0513
                     Plaintiffs
                                                                 Judge Eli J. Richardson
                     v.                                          Magistrate Judge Jeffery S. Frensley

     WELLS FARGO BANK, N.A. et al.,
                                                                 JURY DEMAND
                     Defendants.


                        PLAINTIFFS’ NOTICE REGARDING
                APPOINTMENT OF SPECIAL MASTER UNDER F.R.P.C. 53

Vimala LLC, dba Alecia (“Vimala”) and Alecia Venkataraman (“Ms. Venkataraman” and

collectively with Vimala, “Plaintiffs”), by and through undersigned counsel, respectfully submit

this notice in response to the Court’s Order of March 24, 2022 (ECF 182) (the “Order”),

requiring Plaintiffs to file a notice by April 4, 2022 that “suggests both one or more candidates for

appointment as special master and a specific scope of duties for the special master.” (p. 6). Plaintiff

herein responds to the Court’s Order and states the following:

        Plaintiffs understand and respect the Court’s unique challenges faced with the voluminous

record, highly technical evidence, and parties with diametrically opposed statements of facts.

Plaintiffs appreciate the Court’s position in the Order, and while counsel for Plaintiffs believe that it

was responding in good faith to the Court’s original Order of February 7, 2022 (ECF 177),

Plaintiffs will attempt to clarify their position and provide the court with candid proposals for the

Court’s benefit.

        Plaintiffs do respectfully renew their objections to the Court’s proposal for the appointment

of a special master under FRCP 53 and incorporate and restate the basis for their objections under

Plaintiffs’ Objection to the Appointment of a Special Master (ECF 181), filed on March 14, 2022

                                                    1

   Case 3:19-cv-00513 Document 184 Filed 04/04/22 Page 1 of 5 PageID #: 6159
fully as if stated herein, and object that such an appointment is not appropriate under the Federal

Rules of Civil Procedure, unduly prejudices Plaintiffs, and will cause undue cost and delay.

          Notwithstanding such objection, and subject to and without waiving the foregoing, Plaintiffs

make the following proposals regarding the appointment and scope of the Special Master.

    A. Appointment.

          Plaintiffs propose that the Court appoint a Magistrate in the US Court for the Middle

District of Tennessee to serve in the role of Special Master under FRCP 53. Whether Magistrate

Jeffery S. Frensley or another equally qualified magistrate, Plaintiffs believe that this squarely

falls within the contemplated duties of a magistrate and that a magistrate would be uniquely

positioned to understand the facts and apply the scope and legal standards of a special master.

Moreover, Magistrate Frensley is already acquainted with the parties, facts, and discovery

history that would give the special master a unique position in which to efficiently dispose of its

duties.

          Plaintiffs have no further recommendations regarding the appointment of a special

master. Plaintiffs submit that they cannot approve of any of Defendant’s proposed special

masters because Plaintiffs simply cannot afford to pay their half of a special master’s costs,

laboring over the course of many months. Customary hourly rates and the scope of the proposed

special master make the payment for the special master an unanticipated (as the Court pointed

out, extremely rare) appointment of a third party to provide a report and recommendation.

          Absent some relief provided by the court regarding expenses, Plaintiff’s position is that a

magistrate is a qualified and much more cost-effective choice.

    B. Scope

          Plaintiffs propose the following scope of the special master:



                                                    2

   Case 3:19-cv-00513 Document 184 Filed 04/04/22 Page 2 of 5 PageID #: 6160
   1. The Scope of the special master shall be limited to determine the following issues

      outlined in the Court’s Order of February 7, 2022 (ECF 177): First, which, (if any) of

      the allegedly fabricated emails raised in Wells Fargo’s Motion for Sanctions (ECF

      125, 126) were fabricated; and, if so, second, which (if any) of such fabricated emails

      were fabricated by Plaintiff Venkatarman (“Delegated Issues”). See ECF 177 at 3.

   2. The Special Master shall have the authority to issue a report and recommendation on

      the Delegated Issues and shall comply with Rule 53(d) in doing so.

   3. The Special Master’s authority regarding Number 2 above shall be limited in scope to

      reviewing the Record, Defendant’s Motion for Sanctions, Plaintiffs’ response,

      respective briefs, and all evidence submitted as a part of those filings. The Special

      Master may not be permitted to review any additional evidence except as set forth in

      Number 4 below.

   4. Notwithstanding the Special Master’s limitation on reviewing new evidence not

      previously filed in this matter, the Special Master may be permitted to request that a)

      the Court hold an evidentiary hearing to take evidence from Plaintiff Venkataraman

      in which she will be permitted to testify to her knowledge of facts related to the

      Designated Issues, under examination from her counsel and under cross examination;

      b) that the Special Master be empowered to, and Defendant be ordered to comply

      with, obtain the email servers in the possession of Defendant in which the emails that

      are the subject of the Designated Issues passed to examine the servers for evidence of

      those emails, and to conduct inquiry and related examination as necessary.

   5. The Custodian shall complete its review within sixty (60) days of the appointment

      and shall provide a written report and recommendation by such deadline.



                                            3

Case 3:19-cv-00513 Document 184 Filed 04/04/22 Page 3 of 5 PageID #: 6161
       6. The costs associated with the services of the Special Master shall not be considered

           taxable under 28 USC §1920.

   A. Mediation

       In addition to the above-proposed scope, Plaintiffs propose that, in order to allow for all

       attempts at resolution prior to the incurring of extraordinary costs and expenses related to

       the special master, that prior to the commencement of the special master’s duties, the

       Court order the parties to mediate in an attempt to resolve all disputes under this action.




Respectfully Submitted this 4th day of April, 2022.

                                    BARHAM & MAUCERE LLC

                                    /s/ Scott Raymond Maucere
                                    Scott Raymond Maucere, TN BPR 027407
                                    Daniel O. Barham, TN BPR 034103
                                    Admitted to Practice in the U.S. District Court
                                    For the Middle District of Tennessee
                                    7209 Haley Industrial Dr, Ste 210
                                    Nolensville, TN 37135
                                    O 423.855.1755
                                    Attorneys@b-m.law
                                    Attorneys for Plaintiffs




                                                 4

  Case 3:19-cv-00513 Document 184 Filed 04/04/22 Page 4 of 5 PageID #: 6162
                                CERTIFICATE OF SERVICE

I certify that on this day a true and exact copy of the foregoing document has been served on the
following counsel by electronic mail and/or CM/ECF to:


Jarrod Shaw
Nellie Hestin
McGuireWoods LLP
Tower Two-Sixty
260 Forbes Avenue
Suite 1800
Pittsburgh, PA 15222
JShaw@mcguirewoods.com
NHestin@mcguirewoods.com

Nelson, Mullings, Riley & Scarborough, LLP
c/o William W. Drinkwater
150 Fourth Ave, N
Suite 1100
Nashville, TN 37219
Woods.Drinkwater@NelsonMullins.com

       This the 4th day of April, 2022.


                                           BARHAM & MAUCERE LLC

                                           /s/ Scott Raymond Maucere




                                                1

  Case 3:19-cv-00513 Document 184 Filed 04/04/22 Page 5 of 5 PageID #: 6163
